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              EXHIBIT A
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     Outlook


HPE/Juniper Trial Logistics

From Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>
Date Wed 5/28/2025 10:15 PM
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Kosta,

I am following up on our discussion last week about trial logistics. We think it would be
helpful to get some guidance from the judge before the final pretrial conference on
June 30. Ideally, I would like to file a joint request for a status conference (in-person or
remote) this week requesting a conference for June 5. Below is a list of proposals
around the trial. Some of which I think we can agree without court involvement, but
some I think we want the Court’s input. Please let us know your thoughts on the
proposal and if you have any other topics. We can discuss more fully on our call
tomorrow.


       Openings and closings: One hour for openings and 90 minutes for closings
       Allocation of trial time: Court has allocated 56 hours for trial. Plaintiff gets 33
       hours (about 60%) and Defendants get 23 hours given Plaintiff has burden
       Chess Clock: The above time allocation is calculated by the use of a chess
       clock, meaning that time is only deducted when questioning a witness or playing
       a deposition designation video or read in
       Sponsoring Witness: Parties will not object to exhibits on the basis of
       authenticity or lack of foundation because the exhibit is being admitted without a
       sponsoring witness.
       Demonstratives: Parties will exchange demonstratives, including those used
       for opening and closing, by 9 PM PT the day before their intended use
       Witness Order: By 9 PM PT, the parties will disclose their intended witness
       order for the following trial day including those they intend to offer by
       designation if by video or read in
       PFOF and PCOL: The proposed findings of facts and conclusions of law (pre-
       trial and post-trial) will be one document not to exceed 200 pages.
       Pretrial Brief: The substance of pretrial briefs range significantly depending on
       the court and judge. Request the court provide some guidance as to the
       substance and length of the pretrial brief.

Thanks.

Mike




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